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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

KATHRYN MCDANIEL,                            )
                                             )
         Plaintiff,                          )
                                             )
v.                                           )      Case No: CIV- 20-1278-R
                                             )
LEGEND ENERGY SERVICES, LLC.,                )
                                             )
         Defendant.                          )
                                             )
                                             )
                                             )
                                             )
                                             )

                                       COMPLAINT

        COMES NOW Plaintiff, Kathryn McDaniel, by and through her attorney, Jillian

Mershon, hereby complains against Defendant, Legend Energy Services, LLC.

                                           PARTIES

     1. Plaintiff, Kathryn McDaniel (hereinafter “Plaintiff”), a female, is an individual

        resident residing in Minot, North Dakota.

     2. Plaintiff is a former employee of Defendant, Legend Energy Services, LLC

        (hereinafter “Legend, LLC”).

     3. Defendant, Legend, LLC, is a Delaware limited liability company, operating in

        Oklahoma City, Oklahoma, within the Western District of Oklahoma.




                                  NATURE OF CASE
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1. Plaintiff alleges federal claims pursuant to Title VII of the Civil Rights Act of

   1964, as amended 42 U.S.C. § 2000(e) et. seq. (“Title VII”), and 42 U.S.C. § 1981

   for gender discrimination, retaliation, and a hostile work environment. Plaintiff

   also brings a state law cause of action for wrongful discharge in violation of

   Oklahoma public policy against sex discrimination as set forth in the Oklahoma

   Anti-Discrimination Act, et. seq. (“OADA”).

                             JURISDICTION AND VENUE

2. The jurisdiction of this Court is invoked pursuant to section 706(f) of Title VII of

   the Civil Rights Act of 1964, 28 U.S.C. §§ 1331 and 1343, 29 U.S.C. § 626(c),

   and 42 U.S.C. 2000e-5(f)(3). Plaintiff also brings a pendant state law claim under

   25 O.S. § 1101 et. seq. This Court has jurisdiction over pendant state law claims

   pursuant to 28 U.S.C. § 1367(a).

3. Venue in this district is proper pursuant to 28 U.S.C. §1391 (b)–(c), because

   Defendants operate in this district and the unlawful conduct giving rise to the

   claims occurred in this district.

4. Declaratory, injunctive, and equitable relief is sought pursuant to 28 U.S.C.

   §§ 2201 and 2202, and 42 U.S.C. § 2000e-5(g). Compensatory and punitive

   damages are sought pursuant to 42 U.S.C. § 1981(a).

5. Costs and attorney fees may be awarded pursuant to 42 U.S.C. § 2000e-5(k) and

   Fed. R. Civ. P. 54.

6. This action properly lies in the District Court for the Western District of

   Oklahoma, pursuant to 28 U.S.C. § 1391(b) because the claim arose in this district,
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   and pursuant to 42 U.S.C. § 2000e-5(f)(3) because the unlawful employment

   practice occurred in this district.

                              CONDITIONS PRECEDENT

7. Plaintiff Kathryn McDaniel timely filed charges of discrimination with the Equal

   Employment Opportunity Commission (“EEOC”) on or about November 13 2019.

8. The EEOC issued rights to sue for charge 564-2020-00353, against Legend, LLC.

9. Plaintiff was issued a notice of right to sue letter for the above charges on September

   24, 2020, and this lawsuit was filed within ninety (90) days of Plaintiff’s receipt of

   such notice.

10. Plaintiff has exhausted her administrative remedies under the law.

                               GENERAL ALLEGATIONS

11. Plaintiff began employment for Legend, LLC on July 3, 2014.                Plaintiff’s

   employment was in Oklahoma City, Oklahoma as a Field Sales Representative.

   However, she was in a field position located in North Dakota.

12. Beginning on July 3, 2014, and continuing through the end of her employment with

   Defendant Legend, LLC, Plaintiff was subjected sexual harassment, a hostile work

   environment, and discrimination based upon gender by Defendant Legend, LLC,

   and agents thereof.

13. Plaintiff is a female and member of a protected class.

14. Male employees of Legend, LLC were not subjected to the same or similar

   treatment.

15. Defendant has fifteen (15) or more employees for each working day in each of
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   twenty or more calendar weeks in the current or preceding calendar year and is

   covered employers under Title VII.

16. These discriminatory actions taken against Plaintiff led Plaintiff to file charges of

   discrimination against Defendants with the EEOC.

17. At the time of Plaintiff’s termination, she was employed full-time.

18. Upon beginning her employment with Defendant Legend, LLC, Plaintiff was

   informed that Defendant Legend, LLC did not want to hire a female sales

   representative.

19. Plaintiff was not offered the same benefits or abilities to attend activities that male

   employees of Defendant Legend, LLC enjoyed.

20. Plaintiff filed a formal complaint of gender discrimination with Tamara Trigg, who

   previously served Vice President of Sales. Ms. Trigg scheduled a telephone

   conference with Cheri Zimmerman and Matt Goodson, Chief Operations Manager.

   The gender discrimination issues were not resolved at this meeting, and Plaintiff

   faced increased discrimination.

21. On November 18, 2017, at a CHI Charity Ball, Matt Goodson, Chief Operations

   Manager, sexually harassed Plaintiff. Matt Goodson asked Plaintiff to go to his

   hotel room and have oral sex with another woman.

22. On or around June 2018, Matt Cannon, Director of Engineering, sexually harassed

   Plaintiff by sticking his hands down Plaintiff’s dress and molesting her breasts. Mr.

   Cannon forcibly put Plaintiff’s hand on his penis. Plaintiff pushed Mr. Cannon away

   and removed herself from the situation.
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23. Plaintiff reported the claims of mistreatment and numerous incidents of sexual

   harassment she faced by Defendant’s agents to Defendant’s Human Resources

   Personnel.

24. Upon informing Human Resources of the sexual harassment faced, Plaintiff was

   informed that her position was “eliminated.”


25. Subsequently, Plaintiff’s employment at Legend, LLC was terminated on July 17,

   2019.

26. Defendant posted a job listing for Plaintiff’s same position of Field Sales

   Representative on the same date she was terminated.

27. As a result of Defendants’ actions, Plaintiff has sustained the following injuries: loss

   of employment, loss of career path and opportunity, loss of wages, loss of fringe

   benefits, and other compensation; and consequential and compensatory damages

   including, but not limited to, those for humiliation, loss of dignity, loss of enjoyment

   of life, worry, stress, and anxiety.

28. As a result, Plaintiff has been damaged well in excess of $150,000.00.

29. All adverse actions taken by Defendant against Plaintiff were intentional, willful,

   malicious, or in reckless disregard for the legal rights of Plaintiff.

    COUNT I: ILLEGAL DISCRIMINATION BASED UPON GENDER

  IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964,

                              42 U.S.C. § 2000e et seq.
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30. Plaintiff reasserts and incorporates by reference paragraphs 1–29 as set forth above

   as if fully restated herein.

31. At all relevant times, Plaintiff was qualified for the position she held and had been

   performing satisfactorily.

32. Defendants’ misconduct as described above, in terminating Plaintiff for

   discriminatory reasons, is in clear violation of Title VII of the Civil Rights Act of

   1964.

33. Plaintiff’s gender was a motivating factor in Defendants’ adverse employment-

   related actions described above. Defendants violated Plaintiff’s rights under Title

   VII by taking such adverse actions.

34. As a result of Defendants’ illegal conduct under Title VII, Plaintiff has suffered

   losses, injuries, and damages, as set forth in paragraphs 27–29, above.

35. Plaintiff is entitled to and seek all legal and equitable remedies provided to a

   prevailing plaintiff under Title VII, including, without limitation: back pay, front

   pay, compensatory and punitive damages, as well as appropriate declaratory and

   injunctive relief.

36. Plaintiff is also entitled, under 42 U.S.C. § 2000e-5(k), to recover attorney fees and

   costs incurred in pursuing this claim.

COUNT II: ILLEGAL DISCRIMINATION BASED UPON GENDER/ SEX

 IN VIOLATION OF THE OKLAHOMA ANTI-DISCRIMINATION ACT

                         (“OADA”), 25 O.S. § 1101 et. seq.
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37. Plaintiff reasserts and incorporates by reference paragraphs 1–29 as set forth

   above as if fully restated herein.

38. The acts and omissions described above violate the Oklahoma Anti-

   Discrimination Act (“OADA”), 25 O.S. § 1101 et. seq.

39. As a result of Defendants’ discriminatory and retaliatory actions against Plaintiff,

   Plaintiff has suffered the losses and damages described in paragraphs 27–29.

40. As such, Plaintiff is entitled to recover from Defendants all actual and

   compensatory damages, including, but not limited to, damages for back pay, front

   pay, humiliation, loss of dignity, loss of enjoyment of life, worry, stress, and

   anxiety resulting from her wrongful discharge, as well as punitive damages.

41. Plaintiff is also entitled, under 25 O.S. §§ 1350(H) and 1506.8, to recover court

   costs and attorney fees incurred in pursuing this action.

   COUNT III: ILLEGAL RETALIATION FOR PROTECTED ACTIVITY IN

      VIOLATION OF TITLE VII, 42 U.S.C. § 2000e et seq.; 42 U.S.C. § 1981;

                        AND THE OADA, 25 O.S. § 1101 et seq.

42. Plaintiff reasserts and incorporates by reference paragraphs 1–29 as set forth

   above as if fully restated herein.

43. 42 U.S.C. § 2000e-3(a) makes it illegal to retaliate against an “individual [who]

   has opposed any act or practice made unlawful by this Act or because such

   individual made a charge, testified, assisted, or participated in any manner in an

   investigation, proceeding, or hearing under this Act.”

44. 25 O.S. § 1601 also prohibits such retaliatory conduct.
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45. 42 U.S.C. § 1981 also encompasses anti-retaliation measures resulting from post-

   formation activities.

46. Plaintiff clearly opposed the sexual harassment when she sought to prevent

   Defendant’s agents from harassing her.

47. Plaintiff also clearly opposed the illegal harassment and discrimination when she

   complained to her employer’s HR department.

48. Such opposition and participation is clearly protected activity as defined by Title

   VII, the OADA, and 42 U.S.C. § 1981.

49. Defendant’s actions taken against Plaintiff following her protected activity in

   opposition to Defendant’s illegal conduct are all retaliatory actions designed to

   prevent Plaintiff from exercising her rights under Title VII, the OADA, and 42

   U.S.C. § 1981.

50. Such actions are clearly retaliatory in violation of Title VII, the OADA, and 42

   U.S.C. § 1981.

51. As a result of Defendants’ retaliatory conduct, Plaintiff has suffered the losses and

   damages described in paragraphs 27–29.

52. Plaintiff is entitled to and seek all legal and equitable remedies available to a

   prevailing plaintiff under Title VII, the OADA, and 42 U.S.C. § 1981, including,

   without limitation: back pay, front pay, compensatory damages, punitive damages,

   and any and all appropriate declaratory and injunctive relief.

53. Plaintiff is also entitled, under 42 U.S.C. § 2000e-5(k) and 25 O.S. §§ 1350(H)

   and 1506.8, to recover attorney fees and costs incurred in pursuing this claim.
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                                     PRAYER FOR RELIEF

       WHEREFORE, it is respectfully prayed that this Court grants to the Plaintiff the

following relief:

       a.     Back pay, in amounts to be determined at trial;

       b.     Front pay, in amounts to be determined at trial;

       c.     Emotional distress and punitive damages;

       d.     Compensatory and consequential damages;

       e.     Injunctive or declaratory relief;

       f.     Pre-judgment and post-judgment interest at the highest lawful rate;

       g.     Attorneys’ fees and costs of this action, including expert witness fees, as

       appropriate;

       h.     That Defendant be enjoined and restrained from engaging in further

       discriminatory conduct; and

       i.     Any such further relief as justice allows.




                             DEMAND FOR JURY TRIAL

       Plaintiff hereby requests trial by jury of all issues triable by jury under Oklahoma

and Federal law.
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                                 Dated: December 21, 2020

                                 Respectfully submitted,

                                 /s/ Jillian Mershon
                                 Jillian Mershon OBA #30172
                                 Mazaheri Law Firm, PLLC
                                 3000 W. Memorial Rd., Suite 230
                                 Oklahoma City, OK 73120
                                 Telephone: (405) 414-2222
                                 Facsimile: (405) 607-4358
                                 jillian@mazaherilaw.com
                                 Attorney for Plaintiff


ATTORNEY’S LIEN CLAIMED
